                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
 IN RE: James Edward Hawk f/k/a Jamie
 Edward Hawk                                         BANKRUPTCY CASE NUMBER
        Debtor,                                      19-04599/HWV

 JPMorgan Chase Bank, N.A.                           CHAPTER 7
     Movant.
 v.                                                  11 U.S.C. § 362

 James Edward Hawk f/k/a Jamie Edward
 Hawk
      Debtor/Respondent,

 April L. Hawk
       (Non-filing Co-Debtor),

 Steven M. Carr, Trustee
       Additional Respondent.
     MOTION OF JPMORGAN CHASE BANK, N.A. FOR RELIEF FROM THE
 AUTOMATIC STAY AND CO-DEBTOR STAY UNDER SECTION §362 (d) AND §1301

        JPMorgan Chase Bank, N.A. ("Movant"), by and through its undersigned counsel,
pursuant to 11 U.S.C. §362 and §1301, hereby seeks relief from the automatic stay and co-debtor
stay to exercise and enforce its rights, without limitation, with respect to certain real property. In
support of this motion, Movant avers as follows:

       1.      Debtor named above filed a Voluntary Petition under Chapter 7 of the United
       States Bankruptcy Code in the Middle District of Pennsylvania under the above case
       number.

       2.      Movant is the holder of a secured claim against Debtor and April L. Hawk (“Non-
       filing Co-Debtor”), secured a mortgage lien on real estate which is the principle residence
       of Debtor located at 295 Pine Grove Road, Hanover, PA 17331 (the "Mortgaged
       Premises").

       3.     The filing of the aforesaid Petition operated as an automatic stay under Section
       362(a) of the Bankruptcy Code of proceedings by Movant to foreclose on the Mortgaged
       Premises. Movant requests relief from the automatic stay to continue with the filed
       mortgage foreclosure action, if any, and to take the necessary action to obtain the
       Mortgaged Premises.

       4.     Additional Respondent is the Standing Trustee appointed in this Chapter 7
       proceeding.

       5.      Debtor has not claimed an exemption in the subject property.




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      6.    There is a first mortgage on the property. The holder of the second lien is Mr.
      Cooper in the amount of approximately $336,987.00.

      7.    Debtor has failed to make pre-petition and all post-petition monthly mortgage
      payments.

      8.       The defaults include the failure to make the following monthly payments:

               a)     Payments of $259.70 from September 1, 2019 through January 1, 2020
                      which totals $1,298.50;

      9.     The Fair Market Value of the Mortgaged Premises is $349,000.00, as per
      Debtor’s Schedules. The approximate amount necessary to payoff the loan is $55,867.30
      good through January 9, 2020. The breakdown of the payoff is as follows:

           Principal Balance                                                             $54,768.04
           Accrued Interest                                                               $1,099.26

      10.    Movant is entitled to relief, from the automatic stay, pursuant to either 11 U.S.C.
      § 362 (d)(1) or (d)(2), because of the foregoing default and because:

               a)     Movant lacks adequate protection for its interests in the Mortgaged
                      Premises;
               b)     Debtor does not have any equity in the Mortgaged Premises; and
               c)     The Mortgaged Premises are not necessary to an effective reorganization
                      or plan.
               d)     Debtor has indicated in their Chapter 7 Statement of Intention that they
                      wish to surrender the Mortgaged Premises.
      11.     Movant additionally seeks relief from the Co-Debtor stay under §1301 (if
      applicable) in the instant case, as the continuation of the co-debtor stay causes irreparable
      harm to the Movant. Movant may be barred from moving forward with its state court
      rights under the terms of the mortgage without relief from the co-debtor stay.

      12.   Movant requests that the Court waive Rule 4001(a)(3), permitting Movant to
      immediately implement and enforce the Court’s order.

      13.     Creditor moves the Court for an Order terminating the pending automatic stay to
      allow Creditor to send to any party or parties protected by the automatic stay any and all
      notices required by applicable state or federal law or regulation. Creditor further moves
      the Court to terminate the automatic stay to allow Creditor to take such actions with
      respect to the Property as are provided for under applicable non-bankruptcy law,
      including but not limited to, informing Debtors of any loan modification, short sale, or
      other loss mitigation options.




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       14.     Basis for asserting that the applicable party has the right to foreclose. JPMorgan
       Chase Bank, N.A., services the loan on the property referenced in this Motion for Relief.
       In the event the automatic stay in this case is lifted/set aside, this case dismisses, and/or
       the debtor obtains a discharge and a foreclosure action is commenced on the mortgaged
       property, the foreclosure will be conducted in the name of JPMorgan Chase Bank, N.A..
       Said entity is unable to find the promissory note and will seek to prove the promissory
       note using a lost note affidavit.

         WHEREFORE, Movant respectfully moves this Court for an Order (i) granting Movant
relief from the automatic stay to foreclose upon and to otherwise exercise and enforce its rights
with respect to the Mortgaged Premises, (ii) awarding reasonable attorneys' fees incurred in the
preparation and presentation of this motion, and (iii) granting all such other and further relief as
the Court deems appropriate and necessary.

                                                      Respectfully submitted,



Dated: January 21, 2020                               BY:/s/ Kristen D. Little
                                                      Kristen D. Little, Esquire
                                                      Shapiro & DeNardo, LLC
                                                      3600 Horizon Drive, Suite 150
                                                      King of Prussia, PA 19406
                                                      (610) 278-6800/ fax (847) 954-4809
S&D File #:19-064085                                  PA BAR ID #79992
                                                      kfrankel@logs.com
                                                      pabk@logs.com




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